        Case 4:00-cv-00276-BAE Document 15 Filed 02/26/01 Page 1 of 4
                                                                               FILED
                                                                        U .S . DIST . COURT
                                                                          SAVANNAH DIV
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA             FED 26 3 04 PP1 '01
                               SAVANNAH DIVISION
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                                                                        SO . DISC . U[ GA .


FREDERICK GORHAM                    )
        (MOVANT                     )
                                        CASE NO : CV 400-276


          vs .                )

UNITED STATES OF AMERICA )
            (RESPONDENT) )




                  SUPPLEMENT TO MOTION FOR SUMMARY JUDGEMENT
                      POURSUANT TO FED . RULE PROC . 15(a)




      Comes Now, Frederick Gorham (hereinafter Movant) to show this court
the following :
     1 . That Movant filed his original Motion for Summary Judgement on February
        20, 2001 .
     2 . That Movant had not received any response from the Government to
        comply with this Court's order of January 9 , 2001 , ( see Attachment
        "A") of original Motion for Summary Judgement .
     3 . That on February 21, 2001 , Movant did receive the Government's response
          that was filed in this court on February 14, 2001 .
     4 . Since the Government received a copy of Movant's Motion to S>lpplement
         his original §2255 Motion on January 23 , 2001 , ( see Attachment "C")
        of Movant's original Motion for Summary Judgement .
     5 . To bein compliance with this Court's order of January 9, 2001 , the
        latest the Government had to file their response was February 12,

        2001 .
     6 . The fact that their response was not filed timely and in fact failed
         to comply with this Court's order of January 9, 2001 , they are precluded
        from making any response to the Supplemental §2255 Motion filed by
        Movant .
   Case 4:00-cv-00276-BAE Document 15 Filed 02/26/01 Page 2 of 4



WHEREFORE, the Movant prays this Honorable Court for the following relief :
1 . To find the Government in contempt of court for failure to obey its
   order of January 9, 2001 timely .
2 . To grant all the relief prayed for in the Supplemental §2255 Motion
   and the original Summary Judgement Motion .
3 . For any and all further relief this Honorable Court deems just and
   proper .




   Signed this ,2AW day of February 2001 .




                                                 Respectfully submitted,


                                                 Frederick Gorham, Pro-Se
                                                 #09593-021
                                                 Federal Medical Center
                                                 P .O . Box 1600
                                                 Butner ; . NC 27509
         Case 4:00-cv-00276-BAE Document 15 Filed 02/26/01 Page 3 of 4




                          PLEA FOR LIBERAL CONSIDERATION


     Movant Gorham respectfully moves the Honorable Court to GRANT all liberal
considerations with respect to this action pursuant to HAINES v . KERNER ,,
4040 U .S . 519 , 30 L . Ed . 2d 652, 92 S . Ct . 594, as Movant is not an attorney
and has not attended any law school, nor has any professional training with
respect to the filing of legal pleadings .




                                                          Respectfully submitted,


                                                            rederic c or
                                                          #09593-021
                                                          Federal Medical Center
                                                          P .O . Box 1600
                                                          Butner , NC 27509
        Case 4:00-cv-00276-BAE Document 15 Filed 02/26/01 Page 4 of 4



                          CERTIFICATE OF SERVICE



     I, Frederick Gorham , swear I have deposited into the U .S . Postal box
at Federal Medical Center Butner,,N .C ., copies of the enclosed Motion for
the below named party :
                               Mr . Carlton Bourne
                            Assistance U .S . Attorney
                           100 Bull Street, Suite 201
                               Savannah, GA 31401

     Thise'° day of February 2001 .


     I also request a stamped filed copy be sent to me in the self addressed
stamped enevlope enclosed herein .




                                                         Respectfully submitted,


                                                         Frederick Gorham
                                                         #09593-021
                                                         Federal Medical Center
                                                         P .O . Box 1600
                                                         Butner , NC 27509
